                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:12-cv-686-FDW
                               (3:94-cr-17-FDW-11)

EDWARD HAROLD SAUNDERS, JR., )
                             )
              Petitioner,    )
                             )
             v.              )                                   ORDER
                             )
UNITED STATES OF AMERICA,    )
                             )
              Respondent.    )
                             )

       THIS MATTER is before the Court on consideration of Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence filed pursuant to 28 U.S.C. § 2255. (Doc. No. 1). For the reasons

that follow, Petitioner’s Section 2255 motion will be dismissed as successive.

                                     I.   BACKGROUND

       On July 14, 1994, Petitioner was found guilty following a trial by jury of violation of 21

U.S.C. § 846, and on September 21, 1994, Petitioner was sentenced to life imprisonment.(3:94-

cr-17, Doc. No. 192: Judgment in a Criminal Case). Petitioner appealed and the United States

Court of Appeals for the Fourth Circuit affirmed Petitioner’s criminal judgment on September

18, 2005. United States v. Walker, No. 94-5746, 1995 U.S. App. LEXIS 26457 (4th Cir. filed

Sept. 18, 2005) (unpublished).1 (Doc. No. 247).

       On April 9, 1997, Petitioner filed a motion to vacate, correct or set aside sentence under

Section 2255, which was denied by Order filed on July 14, 1997. (Doc. No. 284). See (3:97-cv-



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        Petitioner’s co-defendant, Tommy Eugene Walker, was given the lead name in the
consolidated appeal.

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168). Petitioner appealed and the Fourth Circuit dismissed his appeal. On October 30, 2000, the

Fourth Circuit denied Petitioner’s application to file a successive motion under Section 2255. On

July 13, 2001, Petitioner filed what the Court found was yet another collateral attack on his

criminal judgment under Section 2255. Noting that the Court was without jurisdiction to

consider whatever merits may have existed in his motion, the Court dismissed the motion as

successive on March 7, 2003. (Doc. No. 346). Petitioner filed an appeal and the Fourth Circuit

again dismissed his appeal. Saunders v. United States, No. 03-6581 (4th Cir. filed July 30, 2003).

(Doc. No. 356).

       On April 5, 2007, the Court dismissed another successive motion under Section 2255 and

Petitioner appealed. (Doc. No. 370). Again, the Fourth Circuit dismissed the appeal. Saunders v.

United States, No. 08-6213 (4th Cir. Apr. 30, 2008) (unpublished).

       On October 17, 2012, Petitioner, proceeding pro se, filed the present motion under

Section 2255 contending that he was improperly designated as a career offender because his

prior convictions, which were noticed by the Government under Section 851, no longer qualify

as proper, predicate felonies based on the Fourth Circuit’s opinion in United States v. Simmons,

649 F.3d 237 (4th Cir. 2011) (en banc). (3:12-cv-686, Doc. No. 1 at 3).

                                 II. STANDARD OF REVIEW

       Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable authority and concludes

that this matter can be resolved without an evidentiary hearing. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).

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                                       III.   DISCUSSION

       On April 24, 1996, Congress enacted the Antiterrorism and Effective Death Penalty Act

(the “AEDPA”). Among other things, the AEDPA provides for a limitation on a petitioner’s

ability to seek relief through a second or successive Section 2255 motion. The statute provides as

follows:

       (h) A second or successive motion must be certified as provided in section 2244 by a
       panel of the appropriate court of appeals to contain—

               (1) newly discovered evidence that, if proven and viewed in light of the evidence
               as a whole, would be sufficient to establish by clear and convincing evidence that
               no reasonable factfinder would have found the movant guilty of the offense; or

               (2) a new rule of constitutional law, made retroactive to cases on collateral review
               by the Supreme Court, that was previously unavailable.

28 U.S.C. § 2255(h).

Petitioner has filed multiple, unsuccessful Section 2255 motions attacking his criminal judgment

however, Petitioner has provided no evidence that he has secured the necessary authorization to

file a successive Section 2255 motion. The Court is therefore without jurisdiction to rule on the

claims in Petitioner’s present § 2255 motion which attacks the same criminal judgment. See

United States v. Winestock, 340 F.3d 200, 205 (4th Cir. 2003).

                                      IV. CONCLUSION

       IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate, Set Aside or

Correct Sentence under 28 U.S.C. § 2255 is DISMISSED as successive. (Doc. No. 1).

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

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demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding

that when relief is denied on procedural grounds, a petitioner must establish both that the

correctness of the dispositive procedural ruling is debatable, and that the petition states a

debatably valid claim of the denial of a constitutional right).

                                                  Signed: November 26, 2012




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